               Case 2:03-cr-00257-CJB-SS                      Document 1319            Filed 12/02/08            Page 1 of 1
O LAED 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Eastern District
                                                      __________  DistrictofofLouisiana
                                                                               __________

                   United States of America                            )
                              v.                                       )
                           Juan Phillips                               )   Case No: 03-257
                                                                       )   USM No: 29027-034
Date of Previous Judgment:                     05/05/2005              )   Robert Toale
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of ✔   ’ the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ’ DENIED. ✔  ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 135 months as to Count 1     is reduced to 108 Months .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    33                Amended Offense Level:                                               31
Criminal History Category: I                 Criminal History Category:                                           I
Previous Guideline Range:  135 to 168 months Amended Guideline Range:                                             108      to 135 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
✔ The reduced sentence is within the amended guideline range.
’
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):




III. ADDITIONAL COMMENTS
     If this sentence is less than the amount of time the defendant has already served, then this sentence is reduced to
     a "time served" sentence.



Except as provided above, all provisions of the judgment dated                05/05/2005      shall remain in effect.
IT IS SO ORDERED.

Order Date:                 12/02/2008
                                                                                                    Judge’s signature


Effective Date:             12/12/2008                                        Hon. Stanwood R. Duval, Jr., U.S. District Judge
                     (if different from order date)                                               Printed name and title
